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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.     CV 17-8996-DMG (SSx)                                      Date     December 15, 2017

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 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                                NOT REPORTED
              Deputy Clerk                                              Court Reporter

    Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
             None Present                                                None Present

 Proceedings: IN CHAMBERS - ORDER DENYING PLAINTIFF’S EX PARTE
              APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
              ORDER TO SHOW CAUSE RE PRELIMINARY INJUNCTION [5]

        Before the Court is Plaintiff’s Ex Parte Application for a Temporary Restraining Order
 (“TRO”) and an Order to Show Cause Why Preliminary Injunctive Relief Should Not Be
 Granted. [Doc. # 5.] Specifically, Plaintiff seeks an order that would enjoin Defendant from
 using Plaintiff’s name or trademark in any manner. See Ex Parte App. at 33–34.

         Federal Rule of Civil Procedure 65 governs the issuance of TROs and preliminary
 injunctions, and courts apply the same standard to both. See Credit Bureau Connection, Inc. v.
 Pardini, 726 F. Supp. 2d 1107, 1114 (E.D. Cal. 2010) (citing Ne. Ohio Coal. for the Homeless v.
 Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006)). Plaintiffs seeking injunctive relief must show
 that: (1) they are likely to succeed on the merits; (2) they are likely to suffer irreparable harm in
 the absence of preliminary relief; (3) the balance of equities tips in their favor; and (4) an
 injunction is in the public interest. Toyo Tire Holdings of Ams. Inc. v. Cont’l Tire N. Am., Inc.,
 609 F.3d 975, 982 (9th Cir. 2010) (citing Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7
 (2008)). An injunction is also appropriate when a plaintiff raises “serious questions going to the
 merits,” demonstrates that “the balance of hardships tips sharply in the plaintiff’s favor,” and
 “shows that there is a likelihood of irreparable injury and that the injunction is in the public
 interest.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (quoting
 The Lands Council v. McNair, 537 F.3d 981, 987 (9th Cir. 2008)). The failure to show
 likelihood of irreparable harm dispenses with the need for the Court to further analyze the other
 factors. See id.

         First, contrary to the requirements of Local Rule 7-19.1, Plaintiff has not, and does not
 intend to, provide Defendant with proper notice of its Ex Parte Application prior to the issuance
 of the requested TRO. Although Plaintiff has attempted to excuse this defect by asserting that
 Defendant could transfer the domain name of the website in question to another registrar or
 registrant if Defendant is given prior notice of this Ex Parte Application, see Ex Parte App. at

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

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 26–27, Plaintiff points to no evidence “clearly show[ing] that immediate and irreparable injury,
 loss, or damage will result” if Defendant is given an opportunity to be heard on the Ex Parte
 Application. See Fed. R. Civ. P. 65(b)(1)(A) (emphasis added).

         Second, Plaintiff has failed to show that it will likely suffer irreparable harm if a TRO
 and/or an order to show cause are not issued. Plaintiff’s only argument in this regard is that
 irreparable injury is presumed if it can show a likelihood of success on the merits of its
 intellectual property claims. See Ex Parte App. at 12–13. The Ninth Circuit has unequivocally
 rejected that proposition. See Herb Reed Enters., LLC v. Florida Entm’t, 736 F.3d 1239, 1250
 (9th Cir. 2013) (quoting Rodeo Collection, Ltd. v. W. Seventh, 812 F.2d 1215, 1220 (9th Cir.
 1987)) (“Gone are the days when ‘[o]nce the plaintiff in an infringement action has established a
 likelihood of confusion, it is ordinarily presumed that the plaintiff will suffer irreparable harm if
 injunctive relief does not issue.’”). Moreover, Plaintiff acknowledges that Defendant registered
 the domain name of the website at issue on March 8, 2017, see Ex Parte App. at 9, yet Plaintiff
 neither explains why it delayed so long in seeking injunctive relief nor provides evidence to
 show that it has suffered irreparable harm during the last nine months.

         In light of the foregoing, the Court DENIES Plaintiff’s Ex Parte Application. Because
 the Court does not believe that further briefing regarding a preliminary injunction is warranted,
 the Court DENIES without prejudice Plaintiff’s request that it issue an order to show cause why
 a preliminary injunction should not issue.

 IT IS SO ORDERED.




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